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/
|N THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE

 

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vital or "i'i\i, itiii,-..Wi'li-tss
UN|TED STATES OF A|VlERlCA
Plaintiff
VS.
CR. NO. 05-20012-D
l\/iONTELL BR|DGEVVATER
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETTiNG

This cause came on fora report date on April 19, 2005. At that time, counsel forthe

defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to duly 5, 2005 with a report

date of Thursdav. June 30. 2005, at 9:00 a.m., in Courtroom 3, 9th Floor of the Federal
Building, l\/|ernphis, TN.

The period from l\/lay 13, 2005 through July15, 2005 is excludable under 18 U.S.C.

§ 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

n is so oRDERED this 25 day of Aprii, 2005.

B RN|CE B. D NALD
UNITED STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-200]2 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

